Case 9:23-cr-80101-AMC Document 74 Entered on FLSD Docket 07/12/2023 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


   UNITED STATES OF AMERICA,                         Case No. 23-80101-CR-
                                                     CANNON/REINHART
                  Plaintiff,

   vs.

   DONALD J. TRUMP and
   WALTINE NAUTA,

              Defendants.
  _____________________________________

                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer

  Review, and Discipline of Attorneys of the United States District Court for the Southern District

  of Florida, the undersigned respectfully moves for the admission pro hac vice of Stephen H. Weiss

  of the law firm of Blanche Law, 99 Wall Street, Suite 4460, New York, NY 10005, (212) 716-

  1250, for purposes of appearance as co-counsel on behalf of President Donald J. Trump in the

  above-styled case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to

  permit Stephen H. Weiss to receive electronic filings in this case, and in support thereof states as

  follows:

         1.      Stephen H. Weiss is not admitted to practice in the Southern District of Florida and

  is a member in good standing of the District of Columbia Bar.

         2.      Movant, Christopher M. Kise, Esquire, of the law firm of CONTINENTAL PLLC, 255

  Alhambra Circle, Suite 640, Coral Gables, Florida, 33134, (305) 677-2707, is a member in good

  standing of The Florida Bar and the United States District Court for the Southern District of Florida


                                         CONTINENTAL PLLC
                                 Miami – Tallahassee – Washington D.C.
Case 9:23-cr-80101-AMC Document 74 Entered on FLSD Docket 07/12/2023 Page 2 of 2




  and is authorized to file through the Court’s electronic filing system. Movant consents to be

  designated as a member of the Bar of this Court with whom the Court and opposing counsel may

  readily communicate regarding the conduct of the case, upon whom filings shall be served, who

  shall be required to electronically file and serve all documents and things that may be filed and

  served electronically, and who shall be responsible for filing and serving documents in compliance

  with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative

  Procedures.

         3.      In accordance with the local rules of this Court, Stephen H. Weiss has made

  payment of this Court’s $200.00 admission fee. A certification in accordance with Rule 4(b) is

  attached hereto.

         4.      Stephen H. Weiss, by and through designated counsel and pursuant to Section 2B

  CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic

  Filings to Stephen H. Weiss at email address: stephen.weiss@blanchelaw.com.

         WHEREFORE, Christopher M. Kise moves this Court to enter an Order for Stephen H.

  Weiss to appear before this Court on behalf of President Donald J. Trump, for all purposes relating

  to the proceedings in the above-styled matter and directing the Clerk to provide notice of electronic

  filings to Stephen H. Weiss.

         Date: July 12, 2023                            Respectfully submitted,

                                                        s/ Christopher M. Kise
                                                        Christopher M. Kise
                                                        Florida Bar No. 855545
                                                        ckise@continentalpllc.com
                                                        CONTINENTAL PLLC
                                                        255 Alhambra Circle, Suite 640
                                                        Coral Gables, Florida, 33134
                                                        (305) 677-2707
                                                        Counsel for President Donald J. Trump


                                                Page 2
                                         CONTINENTAL PLLC
                                 Miami – Tallahassee – Washington D.C.
